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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                           Case No. 1:25-cv-21195

  CREATIVE PHOTOGRAPHERS, INC.,

         Plaintiff,

  v.

  PSEUDO LABS LLC,

         Defendant.


                                               COMPLAINT
        Plaintiff Creative Photographers, Inc. (“Plaintiff”) sues defendant Pseudo Labs LLC
 (“Defendant”), and alleges as follows:
                                             THE PARTIES

        1.              Plaintiff is a corporation organized and existing under the laws of the State

 of New York with its principal place of business located in New York, New York.

        2.       Defendant is a limited liability company organized and existing under the laws of

 the     State     of     Florida       with       its     principal       place        of   business   at

 2655 S Le Jeune Rd, Suite 602, Coral Gables, FL 33156. Defendant’s agent for service of process

 is Brooke Hanmer, 2655 S Le Jeune Rd, Suite 602, Coral Gables, FL 33156.

                                    JURISDICTION AND VENUE

        3.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

 1331 and 1338(a).

        4.       This Court has personal jurisdiction over Defendant because it maintained

 sufficient minimum contacts with this State such that the exercise of personal jurisdiction over it

 would not offend traditional notions of fair play and substantial justice.


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           5.      Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

 Defendant or its agents reside or may be found in this district. “A defendant ‘may be found’ in a

 district in which he could be served with process; that is, in a district which may assert personal

 jurisdiction over the defendant.” Palmer v. Braun, 376 F.3d 1254, 1259-60 (11th Cir. 2004). “In

 other words, ‘if a court has personal jurisdiction over the defendants in a copyright infringement

 action, venue in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-

 CIV-ZLOCH, 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store

 Decor Div. of Jas Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill.

 1991)).

                                                     FACTS

     I.         Plaintiff’s Business

           6.      Plaintiff specializes in the licensing of high-end photography for all markets

 including editorial, advertising, entertainment, publishing, PR, merchandising, and all new media

 worldwide.

           7.      Plaintiff was founded in 1994 and has grown to become one the leading photo

 agencies today with a deep global reach and successful placements worldwide. Plaintiff works

 closely with its photographers in establishing an overall strategy which includes the placements

 and securing of appropriate approvals.

           8.      Plaintiff has excellent relationships with all publicists, managers and agents which

 help to facilitate the seamless approval process while simultaneously maintaining a high level of

 service in all aspects.

           9.      Plaintiff serves as the exclusive licensing agent for the numerous professional

 photographers whose work Plaintiff represents, including but not limited to the work at issue in


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 this lawsuit.

     II.         The Work at Issue in this Lawsuit

           10.      Zoey Grossman is one of many photographers represented by Plaintiff.

           11.      Ms. Grossman studied photography and fine arts at the University of Pennsylvania.

 Her unique and feminine style draws inspiration from the evolution of the woman and the

 intellectualization of beauty. Ms. Grossman’s work has graced the pages of Elle Magazine, Vogue,

 Harper’s Bazaar, Rolling Stone, Numéro, and V to name a few. Her photography has also been

 represented in global campaigns for clients such as Victoria’s Secret, Nike, Reebok, Marc Jacobs,

 Swarovski, The Kooples, and Dior.

           12.      Ms. Grossman took a professional photograph of Zoe Kravitz titled “1092024” (the

 “Work”). A copy of the Work is displayed below:




           13.      The Work was registered by Ms. Grossman with the Register of Copyrights on

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 September 7, 2018 and was assigned Registration No. VA 2-281-825. A true and correct copy of

 the Certificate of Registration pertaining to the Work is attached hereto as Exhibit “A.”

        14.     Ms. Grossman is the owner of the Work and has remained the owner at all times

 material hereto. For all times relevant to this action, Plaintiff and the above-named photographer(s)

 were parties to one or more written agreements whereby such photographer(s) conveyed to

 Plaintiff certain exclusive rights in the Work, including but not limited to the exclusive right to

 reproduce the Work in copies and the exclusive right to distribute copies of the Work to the public

 by sale and/or licensing. Such written agreement(s) likewise convey the exclusive right to pursue

 any infringements of the Work, whether such infringements arose prior to execution of the written

 agreement(s) or thereafter. As such, Plaintiff is entitled to institute and maintain this action for

 copyright infringement. See 17 U.S.C. § 501(b).

        15.     Defendant’s Unlawful Activities

        16.     Defendant owns and operates a cosmetics e-commerce store.

        17.     Defendant advertises/markets its business primarily through its website

 (https://pseudolabs.com/), social media (e.g., https://www.facebook.com/pseudolabsbeauty/,

 https://www.instagram.com/pseudolabs/?hl=en,                                                     and

 https://www.tiktok.com/@pseudolabs?lang=en), and other forms of advertising.

        18.     In October 2023 (after Ms. Grossman’s above-referenced copyright registration of

 the Work), Defendant displayed and/or published the Work on its website, webpage, and/or social

 media (at https://pseudolabs.com/blogs/in-pseudo/recreating-celebrity-freckles-using-phreckles-

 from-pseudo-labs):




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        19.    A true and correct copy of screenshots of Defendant’s website, webpage, and/or

 social media displaying the copyrighted Work, is attached hereto as Exhibit “B.”

        20.    Defendant is not and has never been licensed to use or display the Work. Defendant

 never contacted Plaintiff to seek permission to use the Work in connection with its website,

 webpage, and/or social media – even though the Work that was copied is clearly professional

 photography that would put Defendant on notice that the Work was not intended for public use.

        21.    Defendant utilized the Work for commercial use.

        22.    Upon information and belief, Defendant located a copy of the Work on the internet


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 and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

 commercial use.

           23.   Through Plaintiff’s ongoing diligent efforts to identify unauthorized use of its

 photographs, Plaintiff discovered Defendant’s unauthorized use/display of the Work in February

 2024. Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized

 use.

           24.   All conditions precedent to this action have been performed or have been waived.

                          COUNT I – COPYRIGHT INFRINGEMENT

           25.   Plaintiff re-alleges and incorporates paragraphs 1 through 24 as set forth above.

           26.   Each photograph comprising the Work is an original work of authorship,

 embodying copyrightable subject matter, that is subject to the full protection of the United States

 copyright laws (17 U.S.C. § 101 et seq.).

           27.   Ms. Grossman owns a valid copyright in each photograph comprising the Work,

 having registered the Work with the Register of Copyrights and owning sufficient rights, title, and

 interest to such copyright to afford Plaintiff standing to bring this lawsuit and assert the claim(s)

 herein.

           28.   Plaintiff has standing to bring this lawsuit and assert the claim(s) herein as it has

 sufficient rights, title, and interest to such copyrights (as Plaintiff was conveyed certain exclusive

 rights to reproduce and distribute the Work by the subject photographer(s)).

           29.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

 Defendant had access to the Work prior to its own reproduction, distribution, and public display

 of the Work on its website, webpage, and/or social media.

           30.   Defendant reproduced, distributed, and publicly displayed the Work without


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 authorization from Plaintiff.

        31.     By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

 violation of the Copyright Act, 17 U.S.C. § 501. Defendant’s infringement was either direct,

 vicarious, and/or contributory.

        32.     Defendant’s infringement was willful as it acted with actual knowledge or reckless

 disregard for whether its conduct infringed upon Plaintiff’s copyright. Notably, Defendant itself

 utilizes a copyright disclaimer on its website (“© 2025 PSEUDO LABS. All rights reserved.”),

 indicating that Defendant understands the importance of copyright protection/intellectual property

 rights and is actually representing that it owns each of the photographs published on its website.

 See, e.g., Bell v. ROI Prop. Grp. Mgmt., LLC, No. 1:18-cv-00043-TWP-DLP, 2018 U.S. Dist.

 LEXIS 127717, at *3 (S.D. Ind. July 31, 2018) (“[T]he willfulness of ROI’s infringement is

 evidenced by the fact that at the bottom of the webpage on which the Indianapolis photograph was

 unlawfully published appeared the following: ‘Copyright © 2017.’ By placing a copyright mark

 at the bottom of its webpage that contained Mr. Bell’s copyrighted Indianapolis Photograph, Mr.

 Bell asserts ROI willfully infringed his copyright by claiming that it owned the copyright to

 everything on the webpage.”); John Perez Graphics & Design, LLC v. Green Tree Inv. Grp., Inc.,

 Civil Action No. 3:12-cv-4194-M, 2013 U.S. Dist. LEXIS 61928, at *12-13 (N.D. Tex. May 1,

 2013) (“Once on Defendant’s website, Defendant asserted ownership of Plaintiff's Registered

 Work by including a copyright notice at the bottom of the page. Based on these allegations, the

 Court finds Plaintiff has sufficiently pled a willful violation….”). Defendant clearly understands

 that professional photography such as the Work is generally paid for and cannot simply be copied

 from the internet.

        33.     Plaintiff has been damaged as a direct and proximate result of Defendant’s


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 infringement.

        34.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

 unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b)), Plaintiff

 is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

 of the Work, which amounts shall be proven at trial.

        35.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

 pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

        36.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

 attorneys’ fees as a result of Defendant’s conduct.

        37.      Defendant’s conduct has caused, and any continued infringing conduct will

 continue to cause, irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

 adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

 prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

        WHEREFORE, Plaintiff demands judgment against Defendant as follows:

    a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

    b. A declaration that such infringement is willful;

    c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

        Plaintiff’s election, an award of statutory damages for each photograph comprising the

        Work;

    d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

    e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

    f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

        successors, affiliates, subsidiaries, and assigns, and all those in active concert and


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       participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

       or continuing to display, transfer, advertise, reproduce, or otherwise market any works

       derived or copied from the Work or to participate or assist in any such activity; and

    g. For such other relief as the Court deems just and proper.


  Dated: March 13, 2025.                             COPYCAT LEGAL PLLC
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